Case 19-13556-mdc         Doc 40    Filed 05/13/20 Entered 05/13/20 08:03:44              Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


fuRe:

        Alessandro B Micozzi
        Kristi M Micozzi
                                                               Case No.: 19-13556MDC

Debtor(s)                                                      Chapter 13


                                       PROPOSED ORDER



        AND NOW, this ____
                       13th day of _______
                                      May _, 2020, after a hearing which

took place on May 5, 2020, it is hereby Ordered and Decreed that the Motion for Relief from the

Automatic Stay filed by Wilmington Trnst National Association ("Movant") on April 8, 2020 is

Denied subject to the following:

        It is Fmther Ordered that the following shall occur by or before May 19, 2020:

        1. The Debtors shall pay Movant the sum of $6,000.00, thereby reducing the post­

            petition aiTears due and owing by the Debtors from $18,967.82 to $12,967.82;

        2. The Debtors shall file a Modified Plan capitalizing the $12,967.82 into the remaining

            months of the Chapter 13 Plan;

        3. The Debtors shall file an Amended Schedule "I" and/or "J" to demonstrnte

            affordability for the increase in their Chapter 13 Plan payments;

        4. The Debtors shall become cunent with the Chapter 13 Trnstee; and

        5. The Debtors shall pay their monthly m01tgage payment directly to the Movant
            commencing on June 1, 2020.

        6. If the Debtor fails to comply with the conditions set fo1th in Pai·agraphs 1-5, relief shall
            be granted upon ce1tification of defult by Movant's counsel.



                                                       MAGDELINE D. COLEMAN
                                                       CHIEF U.S.BANKRUPTCY JUDGE
